                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       NO. 3:11-00194
                                                      )       JUDGE CAMPBELL
STERLING RENEVA RIVERS                                )
MAURICE ROGER THOMPSON                                )

                                              ORDER

       Pending before the Court are a Renewed Motion To Sever Defendant Maurice Thompson

From Trial Of Defendant Sterling Rivers (Docket No. 1019), and a Third Motion To Sever

Defendant Maurice Thompson From Trial Of Defendant Sterling Rivers (Docket No. 1047), as

well as the Government’s Response In Opposition To Defendant M. Thompson’s Motion To

Sever (Docket No. 1041). Through the Motions, Defendant Thompson seeks to sever his trial

from that of Co-Defendant Rivers because he believes he will be prejudiced by being joined for

trial with a Defendant who is proceeding pro se. Defendant Thompson also refers to Defendant

Rivers’ request to continue the trial, currently set for February 26, 2013. The Court is granting

the request to continue the trial by contemporaneous order.

       The Court is mindful of the preference for jointly indicted defendants to be tried together

in a conspiracy case unless there is a serious risk that a joint trial would compromise the specific

trial right of one of the defendants. Fed. R. Crim. P. 14(a); Zafiro v. United States, 506 U.S. 534

(1993). In this case, the Court concludes that a joint trial would implicate the interests of

Defendant Thompson in a speedy trial, and would prejudice his defense given the pro se filings

and arguments made by Co-Defendant Rivers.

       Trial for Defendant Thompson remains scheduled for February 26, 2013, and the Pretrial



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Conference/Change of Plea hearing remains scheduled for February 1, 2013, at 1:00 p.m.

       It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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